Case 2:16-cv-06576-KM-MAH Document 266-32 Filed 10/10/22 Page 1 of 4 PageID: 11980




            Exhibit 32
               Case 2:16-cv-06576-KM-MAH Document 266-32 Filed 10/10/22 Page 2 of 4 PageID: 11981


                                                                                                                                                                                Invoice
                                                  a Keyjand Ct.                                                                                                                                   Invoice #
                                          ()hernia, NY. 11716
                                                                                                                                                                                                   18906
                                                                                                                                                                      08/20/2015
               one #     (20  499-763)                              wilsonz@latinf°°dtls'c°In
          Fax 4          (201) 7064669                              wwwiatinfoodUS.com
                                                                                                                                         Ship To
               Bitt To                                                                                                                                                 DEBE DE SER ANTES Dui
                                                                                                                                    PARA COBRAR INVOICE
          SP0209                                                                                                                    LAS 200 PM
          Food Fair-Paterson
          946 Market Street
          Paterson, Ni 07513
          USA

          Cust. Tel:           862 257 1181 Marcela

               Cust Open Bal.                                           kiSD 2366Á7
                                                                                                                                                                             `Ferins               Due Date
                                                                                                                                             I          Ship
                                                                                                            Zn
                                                                                                                                                                             Nut 30               09/19,2015
                                                                                                           14.103             r4,103-A                08/20/2015

                                                                                                                                                                      WM        Unit Price         Ext. Ann
                                                                  - 'n "f "                                                                 Size       I UrtWCs
               -S              : "Q                          ,' . 1* ''' ,'
                                                                                       ' ', Deseilption
                                                                                      :.                                                                                                                39,00
                                                                                                                                           S Oz            12                           39.00
                                                                                   i'Vettfz-PRIfPRRIDAT S 4.9V                                                                          48.00           48,00
          '-    0118- ' - -e' J          ' ' ' '-; *teiiio,Con,Terikerti                                                                     Oz            24
                                                                                                                     2.94 '                                                                             8444
           , 458             .,i-, '1;    '        ,' 400ictin-l'Ildi91401,1-±4-:..PRICED,tAT$                                                             24                           85.90
     ,

                 ZS9 , - ..i, t               ,.,-       be1çmt                                      ATS 3:99
                                                                                                                                             Oz
                                                                                                                                          1 Oz             12                           3L20            31.20
                O2U . ' :Ks 12                                                                   .                                                                                      46. 1 I        46,11
                                          .       --':   "
                                                                                                                                          50z              f2
                                                                                                                                                                                                       46 11
                                                                                                                                            Oz             12                           40.11
                         ' J: 4 ' ,' ' .'                                                   ,- ,'     ;     -,
                                                                                                                                                           12                           31.20           31 2o
                                                                                                AT $3,99         -
                                                                                                                                            Oz


                                                             ,

     ^A                                       '
                     ,
                                                                               ,
                                                                 ' ,z     ,




                         /




           EXHIBIT
    ¿97-,,U
I

                                                                                                                                                                   Total this Invoke               USD 32732


                                                                                                                                                        No Returns after 30 days from date received
                                                                                                                                                       Discrepancies must be noted at time of delivery
                                                                                                                                                                     T&C Rev A. Apply,
                                                                                                                                                  ,     50 fee will be assesed for any bounced checks
                                                                                                                                                         um on this itwoice are the property of Latirdbod till
                                                                                                                                                                         oak' tit N11




                                                                                                                                                                                                   FoodFair0000032
 Case 2:16-cv-06576-KM-MAH Document 266-32 Filed 10/10/22 Page 3 of 4 PageID: 11982



                           (} B..Ke:ylaneí Ct.
                                                                                                                                    Invoice
             ii   to
                           °hornia, NY. 11716                                                                                Date                   Invoice ##

                                                                                                                         09/09/2015                  19093
 I tone #    (20 499-7630          wiisonz@latinfoodus.ccsrn
 Fax #       t201) 706-7669        www.LatinfaodUS,com

  »i11 To
                                                                                            Ship To

                                                                                           'ARA C(:113RA1 INVOICE
S110209
':iod Fair-Paterson                                                                        LAS 2:00 PM
946 lvPrkct Street
Paterson, Ni 07513
USA

Gust. Tel:     862 257 1 181 Marcela

   Gust. Open Bal.                   USD 2450.37

                                                                                     Rta                   Ship                  Terms              Due Date
                                                           Rep

                                                                                    NiO A               09/09/2015               Net 30             10/09/2015
                                                            WZ         NJO3


                                                                                                                                    UnIt. Price      Ext. Amt
                                                        Description
                                                                                             2.5 Lbs           1                           8.0Ì .           160.00
    0265          20           Cervecero Zeno / Instttucionai - 2.5 lbs
                                                                                             16 Oz            12                          31.20             31.20
    0270               i       Chorizo Argentino « PREPRICED AT $ 3,99
                                                                                             15 Oz            12                          46,1.1            46.11
    0264               I       Salchicha Ranchera Tradicional
                                                                                             15 Oz            12                          46.11             46.11
    0263               l       Super'R.ancherii                        .


                                                                                                                                                            31.20
                                                                                             1S Oz            12                          31.20
    0260                       Chorizo Antiequeño ___ PR;EP.RiCED AT S 3.99
                       1
                                                                                             1S Oz            12                          39.00             39.00
    0218                       Chorizo Con Ternera / Veal --- PREPRiÇËD AT $ 4.99
                       1
                                                                                             1.6 %1-i         24                          48.00             48.00
    0258               1
                               Saichicon Tradicional actin -- PREPRICED AT $ 299
                                                                                             16 Oz            24                          85.90             85<90
    0259               1       Cervecero Zenu




                                                                                                                    Total this n ice                 t IS    487,5
    Cases Re rived

                                                                                                          No Returns oiler 30 days from date received.
          Received by:                                                                                   Discrepancies must be noted at time of delivery...
                                                                                                                      T &C Rev, A. Apply.
                                                                                                         $50 fee will be assesed for art bounced checks.
    .y =merit rendered:                                                                            All products on this invoice are the property oil     od till
                                                                                                                             aid in tall.




                                                                                                                                                     FoodF'arr000.0033
 Case 2:16-cv-06576-KM-MAH Document 266-32 Filed 10/10/22 Page 4 of 4 PageID: 11983


                                                                                                                     Invoice
                        o a Keyland Ct.
                         °hernia, NY. 11716

                     499-7630    wilsonz@latinfoodus.com
                (201)706-7669    wwwLatinfriodUS:.com

  Bill To                                                                      Ship To
                                                                                               INVOICE DI 'BIF, DE SER ANTES DE
SP0209                                                                        PARA COBRAR
Food Fair-Paterson                                                            LAS 2:00 PM
946 Market Street
Paterson, NJ 07513
USA

Cust. Tel:        862 257 1181 Marcela

  Cus Open Bal.
            .                         D 2808.66
                                                                                                                                    Due Date

                                                                                                                 Net 30             10/17/2015
                                                             WZ        NJO3              09/17)2015


                                                                                            Unts/Cs       11/M      Unit Price       Ext Amt
  SKU              QTy                                 Description                Size                J

                                                                                               12                          46.1           46.11
  0263                      Super Ranchera                                        OZ
                                                                                               12                          46.11          46.11
  0264                      Salchicha Ranchera Traditional                      15 Oz
                   1
                                                                                                                       '                  39 00
  0218                                                                          T5Oz "         12




     ases eceived:
                                                                                                    Total this Invoice             USD 131


       Received by                                                                         No Returns alter 30 days from date received.
                                                                                         Discrepancies must be noted at time of delivery,-
                                                                                                       T&C Rev. A. Apply
                                                                                         $50 fee will be.assesed for any bounced cheeks
         t rendered::                                        Cash / Cheek #        All products on this invoice are the property of Latinfood tin
                                                                                                           paid M fUlL




                                                                                                                                    FoodFair0000034
